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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG             §                      MDL No. 2179
“DEEPWATER HORIZON” in the                  §
GULF OF MEXICO,                             §                      SECTION: J
on APRIL 20, 2010                           §
                                            §                   JUDGE BARBIER
       Applies to: All Cases                §
                   2:10-cv-02771            §               MAG. JUDGE SHUSHAN
                                            §
                                            §

         HESI'S REPLY IN SUPPORT OF ITS REQUEST FOR CLARIFICATION

        Halliburton Energy Services, Inc. ("HESI") respectfully submits this Reply in Support of

Its Request for Clarification of Order Disqualifying Viator, Sabins, and CSI (Rec. Doc. 5047).

                                            I.
                                   SUMMARY OF THE REPLY

        The question left unanswered in the Court's Order granting BP a substitute expert is how

to protect HESI from the prejudice resulting from allowing the same attorneys who worked

closely with Sabins to work closely with BP's new expert, Ronald Crook. Just as Crook should

not have any contact with Sabins' tainted work product, he should not have contact with the

attorneys who helped develop that work product. The Fifth Circuit's opinion in American Can

Co. v. Citrus Feed Co., 436 F.2d 1125 (5th Cir. 1971) does not apply to the facts of this case

because Viator, who had direct knowledge of HESI's confidential information about this

litigation, worked directly with Sabins in this litigation, and Sabins in turn worked directly with

BP's counsel in this litigation. The attorneys who worked with Sabins should not be allowed to

serve as a loophole to undermine the Court's careful protection of the integrity of the judicial

process. For these reasons, the Court should grant HESI's Request for Clarification.




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                                              II.
                                           ARGUMENT

A.     HESI'S Request for Clarification is Timely

       HESI's Request for Clarification was prompted by the issues raised in the Court's Order

allowing BP to designate a substitute expert.          See Rec. Docs. 4868, 5014.       Sabins was

disqualified in order to preserve the integrity of the judicial process, and to further this goal the

Court required BP to affirmatively demonstrate that the substitute expert did not have any

contact with the expert work performed by Sabins. (Rec. Doc. 5014). The Court did not,

however, require BP to demonstrate anything with respect to the attorneys who had direct

contact with Sabins' expert work. In order to avoid further prejudice, HESI timely sought

clarification from the Court regarding these attorneys.

       Once a court has ordered disqualification, the errant party can and should be blocked

from any access to tainted work product. See In re George, 28 S.W.3d 511, 514-515 (Tex.

2000). Once BP received notice of the conflict resulting from Sabins employment of Viator, it

could have erected a wall between the attorneys who worked directly with Sabins and those who

would work with the substitute expert. BP's Response to the Request for Clarification makes it

clear that no such wall was erected and that the same attorneys who worked with Sabins are

currently working with Crook. Allowing these attorneys to work as closely with Crook as they

did with Sabins frustrates the integrity of the judicial process.

       Even assuming arguendo that Crook had no contact with Sabins, HESI is faced with the

very real threat that Sabins' tainted work product will be (or has been) passed to Crook from BP's

counsel. Testifying experts work closely with counsel, who provide the framework from which

experts derive their opinions. This framework includes descriptions of the factual controversies,

identifying key exhibits, discovery, document production, the parties' known strategy, and,

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importantly, previously created work product. It follows that Sabins' tainted work product, as

known by certain counsel, is likely to be disseminated to Crook, either intentionally or

unintentionally, absent an order preventing such dissemination.

B.     American Can Does Not Apply To Present Case

       In American Can Co. v. Citrus Feed Co., Miller was plaintiff's lead trial counsel in a

collections suit. 436 F.2d at 1126. Allison was hired as plaintiff's local counsel. After Allison

was hired, the parties learned that Allison's partner, Erickson, had previously represented the

defendant in an unrelated IRS audit. Id. at 1127. The defendant moved to disqualify both law

firms and all attorneys employed at those firms. Id. While there was no evidence that Allison

worked on the IRS audit or had any knowledge of defendant's confidential information, the Fifth

Circuit affirmed the trial court's imputation of Erickson's conflict to his partner, Allison. Id. The

Fifth Circuit reversed the trial court's conflict imputation to Miller, however, noting that there

was no evidence of a substantial relationship between the tax files and the collections suit. Id.

The court also noted that: (1) the trial court found no lack good faith on the part of Erickson,

Allison, or Miller; (2) each had made every effort to comply with the Canons of Ethics; and (3)

Erickson, Allison, and their firm withdrew from their representation of the plaintiff. Id.

       The "double imputation" analysis of American Can has no application to the present case

because there is a substantial relationship between Viator's knowledge of HESI's confidential

information and his work for Sabins and BP in this litigation. Viator, who had direct knowledge

of HESI's confidential information about this litigation worked directly with Sabins, who worked

directly with BP's counsel in this litigation. Additionally, unlike the attorneys in American Can,

Sabins intentionally assigned Viator to work on this case against HESI. Sabins made no effort to

act in an ethical manner, and when BP learned of Sabins' conduct, it made no effort to distance


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him from the case or withdraw his opinions. Instead, BP fought tooth and nail to utilize Sabins'

tainted opinions until this Court disqualified him. The same can be said for the attorneys who

worked with Viator and Sabins. After receiving clear and unequivocal evidence that Viator

worked with HESI's defense counsel in this litigation, these attorneys failed to erect any kind of

wall between themselves and BP's substitute expert. This is hardly an effort to comply with the

rules of ethics.

        After multiple rounds of briefing on this subject, BP still offers no explanation about how

and why Viator's name was added to the list of "Authorized Personnel" on the Software Escrow

Agreement. See Ex. A (filed with HESI's Motion for Disqualification, Rec. Doc. 4595-7).

Unlike Stencel v. Fairchild Corp., 174 F. Supp. 2d 1080 (C.D. Cal. 2001), this is not a situation

where the individuals in question "had no interactions with each other with respect to this

matter." Id. at 1087 (cited in Order, Rec. Doc. 4838). Here, certain BP attorneys worked

directly with Sabins, preparing him for and defending him in multiple depositions, preparing his

expert reports, and assigning him to conduct computer modeling for BP using HESI's computer

and proprietary software. Presuming that such counsel was involved in formulating Sabins'

opinions is very different than the imputation that was rejected in American Can.

C.      BP's Refuses To Acknowledge Counsels' Duty To Ensure Compliance With Ethical
        Rules

        BP's argument that counsel has no obligation to ensure that experts comply with

applicable ethics rules should be rejected. Rec. Doc. 5205 at 12 & 12 n.2. Although the court in

Remtech, Inc. v. Fireman's Fund Ins. Co. did not disqualify counsel vicariously based on the

expert's contacts, unlike Viator, that expert had no confidential information. No. CV-05-0087-

LRS, 2006 WL 5157646 at *1 (E.D. Wash. 2006). Further, the court did disqualify the expert

because he was a former employee of the movant — just as Crook is a former employee of

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HESI. Although HESI does not presently seek Crook's disqualification, it does seek adequate

protection of its confidential information and an end to BP's use of Sabins' tainted work product.

Because attorneys should not function as a conduit for an end-run around the Court's orders,

Crook should not be allowed to work with the same lawyers who helped Sabins develop his

reports.

                                            III.
                                        CONCLUSION

        HESI does not seek to disqualify BP's counsel. Rather, HESI asks this Court to clarify its

prior order to ensure that BP does not benefit from Sabins' misdeeds. Allowing the same lawyers

who worked with Sabins on his tainted expert reports to work with Crook serves as an end-run

around the Court's orders. This Court should grant HESI's request and clarify its prior order to

make clear that the attorneys who worked with Sabins cannot work with Crook or on any cement

related matters in this litigation.




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                                     Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Halliburton Energy Services, Inc.’s Reply in
Support of its Request for Clarification was filed electronically with the Clerk of the Court using
the CM/ECF system and that notice of this filing will be sent to all counsel through the CM/ECF
system on this 16th day of January 2012.



                                             /s/ Donald E. Godwin
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